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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )                  8:13CR287
       vs.                                     )
                                               )                    ORDER
J. MERCED RODRIGUEZ-BARAJAS, et                )
al.,                                           )
                                               )
                      Defendant.               )


       This matter is before the court on the unopposed defendant’s motion to continue trial
[60] due to a scheduling conflict. The court finds good cause being shown and the trial will be
rescheduled. The defendant has complied with NECrimR 12.1(a). Note: Jury trial previously
set for February 4, 2014 is rescheduled to January 28, 2014.


       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for February 4, 2014 is rescheduled to January 28, 2014 at
       9:00 a.m. as to all defendants.

        2.       In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between today’s date and January 28, 2014, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED December 19, 2013.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
